928 F.2d 395
    Gorman (Joseph), on Behalf of, Scranton Electric Construction Co., Inc.v.Richardson (Henry Ted, II, Nancy), Platt (Frederick J., III,Joseph C., III), Richardson Construction Co., Rich-Mac,Inc.; Gorman (Joseph R.), U.S. Bankruptcy Trustee, on Behalfof, Scranton Electric Construction Co., Inc.
    NO. 90-5774
    United States Court of Appeals,Third Circuit.
    FEB 28, 1991
    
      Appeal From:  M.D.Pa.,
      Kosik, J.
    
    
      1
      AFFIRMED.
    
    